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 8                              UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10                                   WESTERN DIVISION
11
12 LUCAS R., et al.,                          Case No. 2:18-CV-05741 DMG PLA
13                   Plaintiffs,
                                              MEMORANDUM OF POINTS AND
14         v.                                 AUTHORITIES IN SUPPORT OF EX PARTE
                                              APPLICATION FOR TEMPORARY
15   ALEX AZAR, et al.,                       RESTRAINING ORDER AND ORDER TO
                                              SHOW CAUSE RE: PRELIMINARY
16                   Defendants.              INJUNCTION
17                                            Hearing: None Set
18                                            Judge: Hon. Dolly M. Gee

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                                                       MEMO. OF PS & AS ISO EX PARTE APPLICATION
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1    I.    INTRODUCTION
2          Plaintiffs request a temporary order protecting children whom the Office of
3    Refugee Resettlement (“ORR”) has placed in congregate detention from the clear and
4    present danger the COVID-19 pandemic poses to their health and well-being. While
5    medical experts unanimously demand that we all practice physical distancing, avoid
6    groups of ten or more, and self-isolate, such precautions are all but impossible for
7    children in congregate settings, who are therefore at unacceptable risk.
8          Last Sunday, CNN reported that a 12-year-old child with no preexisting health
9    conditions and no known contact with an infected person was diagnosed with
10   pneumonia, tested positive for coronavirus, and was on a ventilator fighting for her life.1
11   As her cousin observed, “Everyone keeps saying ‘it doesn’t impact younger people.’
12   But here’s a 12-year-old fighting for her life. People need to practice social distancing.
13   People need to take care of their children.”2
14         The spread of COVID-19 into ORR facilities is not hypothetical: It has infiltrated
15   ORR’s MercyFirst and Abbott House congregate facilities in New York,3 and an ICE
16   immigration detainee has tested positive for COVID-19.4 Children in ORR’s custody
17   will be placed in life-threatening danger when – not if – the contagion spreads through
18   ORR’s congregate facilities.
19         ORR has immediate legal duties under the TVPRA, Flores Settlement, and Fifth
20   Amendment to the Constitution to avoid detaining children in congregate settings as
21   much as possible. The obvious ways of doing so are (1) expediting children’s release to
22   waiting family whenever it is safe to do so, and (2) transferring as many children as
23
     1
       See Amara Walker, et al., 12-year-old girl with coronavirus is on a ventilator and
24   fighting for her life, CNN (Mar. 22, 2020, 11:35 AM), https://cnn.it/39mU77W.
     2
25     Id. (emphasis added).
     3
       See H. Aleaziz, A Staff Member at a Facility Housing Unaccompanied Immigrant
26   Children Has Tested Positive for the Coronavirus, BUZZFEED NEWS (Mar. 19, 2020),
27   https://bit.ly/39fRPYa.
     4
        Priscilla Alvarez & Catherine E. Shoichet, First ICE detainee tests positive for
28   coronavirus, CNN, https://cnn.it/39aEyju (last updated Mar. 24, 2020).
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1    possible who must remain in ORR custody to non-congregate settings. A growing
2    number of jails and prisons are taking analogous steps to reduce their populations; ORR
3    has no excuse for failing to follow suit.
4          Presently before the Court, inter alia, are the rights of all children in ORR custody
5    whom the agency “is refusing or will refuse to release to parents or other available
6    custodians within 30 days of the proposed custodian’s submission of a complete family
7    reunification packet on the ground that the proposed custodian is or may be unfit (i.e.,
8    the ‘unfit custodian class’).” (Amended Order re Defendants’ Motion to Dismiss and
9    Plaintiffs’ Motion for Class Certification, Dec. 27, 2018 (ECF No. 141) at 27.)
10         Under the current circumstances, an order requiring ORR to release children it
11   has already detained for 30 days to ready custodians, transfer them to non-congregate
12   settings, or else justify why it has done neither, is both reasonable and necessary to
13   protect the rights of the nearly 1,200 children who are members of this certified class.
14   As a collateral benefit, should ORR place a significant number of currently detained
15   children with their families, those remaining in detention will have both more ability to
16   practice social distancing and more medical resources available to them if they fall ill,
17   increasing their chance of protecting themselves against the current pandemic.
18   II.   STATEMENT OF FACTS
19         A.     The COVID-19 Global Pandemic Demands Extraordinary Measures
                  Be Taken to Protect Class Members.
20
           COVID-19 is a deadly and highly infectious disease that has evolved into a global
21
     pandemic and spread to all 50 states in the U.S. (Ex. B (Declaration of Dr. Julie DeAun
22
     Graves ¶ 6 (“Graves Decl.”)); Ex. C (Declaration of Dr. Jaimie Meyer ¶ 20 (“Meyer
23
     Decl.”))).5 The disease spreads through respiratory droplets and can be transmitted
24
     through person-to-person contact – including contact with asymptomatic individuals –
25
     and through contact with inanimate surfaces. (Meyer Decl. ¶ 20.; Graves Decl. ¶ 11.)
26
27
     5
      Declarations are submitted as exhibits to the concurrently filed Declaration of Carlos
28   Holguín (“Holguín Decl.”).
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1          As of March 24, 2020, the U.S. Centers for Disease Control and Prevention
2    (“CDC”) reported 46,481 cases in the U.S. and 593 deaths. (Graves Decl. ¶ 6.)6 Given
3    the severe shortage of COVID-19 tests, these numbers underestimate the true spread of
4    the disease. (Id. ¶ 7.) Unfortunately, this pandemic has already reached the ORR system,
5    with several staff members at ORR facilities testing positive for COVID-19.7
6          B.    Class Members Residing in Congregate Settings Are at Grave Risk of
                 Contracting COVID-19.
7
           The vast majority of children in ORR custody live in congregate settings, where
8
     they spend all of their time in close proximity to other children and staff members.8 The
9
     CDC has warned that detained individuals who “live, work, eat, study, and recreate
10
     within congregate environments” are at heightened risk of contracting COVID-19.9
11
                  1.    Pandemic risks in congregate settings are dire.
12
           There is no cure or vaccine for this highly contagious virus. (Graves Decl. ¶ 8.)
13
     The only way to avoid transmission of COVID-19 is for individuals to practice “social
14
     distancing” (maintaining a distance of at least six feet from the nearest person) and
15
     frequent hand washing. (Id.; Ex. E (Declaration of Dr. Nancy Y. Wang ¶ 12 (“Wang
16
     Decl.”))). For this reason, the CDC deems social distancing a “cornerstone of reducing
17
     transmission of respiratory diseases such as COVID-19.”10
18
19
20   6
        For updated statistics, see Coronavirus COVID-19 Global Cases, Ctr. Systems
     Science        &      Engineering,      Johns      Hopkins      Univ.,           (JHU),
21   http://www.arcgis.com/apps/opsdashboard/index.html#/bda7594740fd40299423467b4
     8e9ecf6.
22   7
       Camilo Montoya-Galvez, 3 workers at facilities housing migrant kids in U.S. custody
23   test positive for coronavirus, CBS NEWS (Mar. 23, 2020), https://cbsn.ws/39hlkbY.
     8
       See ORR, Children Entering the United States Unaccompanied: Guide to Terms, HHS
24   (Mar. 21, 2016), https://bit.ly/3alIaR2; see also Amra Uzicanin & Joanna Gaines, Field
25   Epidemiology Manual: Community Congregate Settings, CDC, https://bit.ly/3drRgO9
     (last reviewed Dec. 13, 2018) (“congregate settings” includes “detention facilities”).
26   9
       Interim Guidance on Mgmt of Coronavirus Disease 2019 (COVID-19) in Correctional
27   and Detention Facilities, CDC, https://bit.ly/3aiq8za (last updated Mar. 23, 2020) (Ex.
     L.)
28   10
        Id.
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1          The rapid transmission of COVID-19 in congregate settings is clearly evidenced
2    by the tragic spread of the virus within cruise ships, nursing homes, and prisons
3    worldwide. Over 800 people tested positive for COVID-19 on cruise ships in Japan and
4    off the coast of California.11 At a nursing home facility in Washington, two-thirds of
5    the residents and 47 staff tested positive for COVID-19, with 35 people ultimately dying
6    from the virus.12 On March 21, 2020, Mayor de Blasio announced that at least 21
7    inmates and 17 employees at the Rikers Island Correctional Center tested positive for
8    COVID-19, a drastic increase from the first case identified just three days earlier.13 For
9    this reason, correctional public health experts recommend the release of those most
10   vulnerable to COVID-19. (Ex. D (Letter to Congress at 6) (“Finally, regarding the need
11   to implement immediate social distancing to reduce the likelihood of exposure to
12   detainees, facility personnel, and the general public, it is essential to consider releasing
13   all detainees who do not pose an immediate risk to public safety.”).)
14         Reducing the number of individuals in congregate care protects the safety of
15   those individuals as well as the communities around them. An outbreak of COVID-19
16   in a congregate environment could quickly overwhelm local health care services and
17   cause individuals to be transported to more distant hospitals and clinics, utilizing more
18   resources and potentially exposing health care workers in communities where the
19   disease is not yet prevalent. (Graves Decl. ¶ 31; Ex. D (Letter to Congress at 4).)
20                2.     The conditions at ORR facilities increase the pandemic risks.
21         The communal living that defines congregate care renders it nearly impossible
22   for detained individuals, including children in ORR facilities, to engage in practices –
23
     11
        Victoria Forster, What Have Scientists Learned About COVID-19 and Coronavirus
24   By Using Cruise Ship Data?, FORBES, (Mar. 22, 2020) https://bit.ly/2UeSgNS.
     12
25      Jack Healy & Serge F. Kovaleski, The Coronavirus’s Rampage Through a Suburban
     Nursing Home, N.Y. TIMES (Mar. 21, 2020), https://nyti.ms/2QIcVaS; see also John
26   Balance, et al., Louisiana identifies new cluster of coronavirus cases in Donaldsonville
27   retirement home, THE ADVOCATE, (Mar. 23, 2020), https://bit.ly/39hxQZ9.
     13
        21 Inmates, 17 Employees Test Positive for COVID-19 on Rikers Island, NBC NEW
28   YORK, https://bit.ly/2y1J6eZ (last updated Mar. 22, 2020).
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1    such as social distancing and increased hygiene – necessary to mitigate the risk of
2    COVID-19 transmission. (Wang Decl. ¶ 16, Graves Decl. ¶¶ 10-11; Ex. D (Letter to
3    Congress at 4).) The majority of children in ORR shelters, group homes, residential
4    treatment centers, staff-secure facilities, and secure facilities live in close quarters, share
5    multiple communal spaces, and cannot consistently maintain the minimum six foot
6    distance from others. (Graves Decl. ¶¶ 10-11; Wang Decl. ¶ 16; Ex. F (Declaration of
7    Anthony Enriquez ¶¶ 11, 21, 29 (“Enriquez Decl.”)); Ex. G (Declaration of Hannah P.
8    Flamm ¶ 12 (“Flamm Decl.”))).
9           ORR facilities often house multiple children in single rooms, with some sleeping
10   in bunk beds placed close together. (Enriquez Decl. ¶¶ 12, 22, 30; Flamm Decl. ¶¶ 13,
11   25.) Children are required to participate in group activities and classes where they share
12   space with others in a confined area. (Enriquez Decl. ¶¶ 7, 18; Flamm Decl. ¶¶ 8-9, 22-
13   23; Ex. H (Declaration of Rachel Rutter ¶¶ 5-6, 26 (“Rutter Decl.”))). Children share
14   school materials, telephones, televisions, dining tables, and other equipment with other
15   children. (Enriquez Decl. ¶¶ 7, 18, 26; Flamm Decl. ¶¶ 6, 20; Rutter Decl. ¶¶ 4-6, 11.)
16   Children also eat their meals in communal areas, in close proximity to other children
17   and staff, which creates a dangerous situation for the spread of COVID-19. (Enriquez
18   Decl. ¶¶ 13, 23, 31; Flamm Decl. ¶¶ 15, 27; Rutter Decl. ¶¶ 14-15; Graves Decl. ¶ 10.)
19          In addition, toilets, sinks, and showers are shared and regularly used by large
20   numbers of children. (Flamm Decl. ¶ 14; Rutter Decl. ¶¶ 12-13, 16.) Some facilities
21   require children to ask permission to use the bathroom and require staff to accompany
22   children to the bathroom. (Flamm Decl. ¶¶ 14, 26.)
23          Like other detention centers, ORR facilities are accessible to staff and other
24   outside visitors who may transmit the virus. (Meyer Decl. ¶ 8; Graves Decl. ¶¶ 10, 23;
25   Wang Decl. ¶ 17.) The CDC has warned that “[t]here are many opportunities for
26   COVID-19 to be introduced into a correctional or detention facility, including daily
27   staff ingress and egress; transfer of incarcerated/detained persons between facilities and
28   systems, to court appearances, and to outside medical visits; and visits from family,
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1    legal representatives, and other community members.”14 Program staff – including case
2    managers, teachers, youth care workers, medical providers, and clinicians – enter and
3    leave these facilities in shifts and interact closely with the children. (Enriquez Decl. ¶¶
4    8-10, 19-20, 27-28, 33; Flamm Decl. ¶¶ 7, 11, 21; Rutter Decl. ¶ 25.) To date, staff at
5    two ORR facilities have tested positive for COVID-19 – Abbott House in Irvington,
6    New York, and Mercy First in Syosset, New York.15 It has also recently been reported
7    that an ICE detainee tested positive for COVID-19.16
8                 3.     The pandemic risks to detained children are particularly grave.
9          Children in ORR custody are at risk of serious illness if they contract COVID-
10   19, and often face particular vulnerabilities to the virus. Severe illness and death from
11   COVID-19 have been reported in people of all ages, including children. (Graves Decl.
12   ¶ 7; Wang Decl. ¶ 9.) Even children without identifiable risk factors can become
13   seriously ill from COVID-19.17 The largest study of pediatric COVID-19 patients to
14   date shows that approximately 6% of infected children and 11% of infected infants had
15   severe or critical cases. These cases included children and infants who suffered from
16   respiratory failure, shock, encephalopathy, heart failure, coagulation dysfunction, acute
17   kidney injury, and life-threatening organ dysfunction.18 Tragically, California reported
18   its first death of a minor linked to COVID-19 on March 24, 2020.19
19
     14
20      Interim Guidance on Management of Coronavirus Disease 2019 (COVID-19) in
     Correctional and Detention Facilities (Ex. L.)
21   15
        Mazin Sidahmed, Another Worker in a New York Shelter for Migrant Children has
22   Tested Positive for COVID-19, DOCUMENTED (Mar. 20, 2020), https://bit.ly/33Hs8yx;
     Brooklyn Count Soars, as Coronavirus Cases in N.Y.C. Near 4,000, N.Y. TIMES,
23   https://nyti.ms/2J9GxtR (last updated Mar. 20, 2020).
     16
24      Priscilla Alvarez and Catherine E. Shoichet, supra note 4.
     17
        See Amara Walker, et al., supra note 1; Panama: 13-year-old girl with coronavirus
25   dies, officials say, AL JAZEERA (Mar. 23, 2020), https://bit.ly/2wzvvvb.
     18
26      See Yuanyuan Dong, et al., Epidemiological characteristics of 2143 pediatric
     patients with 2019 coronavirus disease in China, PEDIATRICS, https://bit.ly/39hz1Yz
27   (lasted visited Mar. 24, 2020).
     19
28      See Jenny Gross and Tim Arrango, Teenager’s death in California is linked to
     Coronovirus,             N.Y.         TIMES          (Mar.           24,      2020),
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1          Moreover, many children in ORR custody have experienced intense trauma in
2    their home countries and on their journey to the United States that may be exacerbated
3    by the stress and uncertainty of detention.20 Post-traumatic stress disorder and related
4    conditions are associated with weakened immune systems and a heightened
5    susceptibility to infection. (Graves Decl. ¶ 12; see generally Ex. I (Declaration of Dr.
6    Mira Zein (“Zein Decl.”)). Certain children are at even higher risk of serious illness if
7    they contract COVID-19, including those with pre-existing health conditions or
8    compromised immune systems,21 or who are pregnant or parenting. (Flamm Decl. ¶ 31;
9    Wang Decl. ¶ 19.)
10         And yet many ORR facilities have limited capacity to provide appropriate
11   medical care or mental health services. (Graves Decl. ¶ 31; Enriquez Decl. ¶ 33; Flamm
12   Decl. ¶ 17-18; Rutter Decl. ¶¶ 18-23, 27.)
13         The uncertainty and anxiety created by this pandemic creates particular risks for
14   children. (Ex. J (Declaration of Dr. Craig Haney ¶¶ 12-16 (“Haney Decl.”))). Now more
15   than ever, children need the support of caring family or caregivers. (Id.) To the extent
16   that ORR programs respond to this public health risk by further isolating children and
17   limiting opportunities for recreation or visits, this may further traumatize vulnerable
18   children. (Haney Decl. ¶ 12; Meyer Decl. ¶¶ 30, 34; Wang Decl. ¶ 23.)
19         C.     ORR’s Recently Adopted Safety Measures for Congregate Care
                  Facilities Fail to Protect Class Members from COVID-19.
20
                  1.     ORR’s COVID-19 Guidelines Do Not Comply with CDC and
21                       Epidemiological Mandates Regarding Vital Safety Measures.
22         On March 19, 2020, ORR distributed the “COVID-19 Interim Guidance for ORR
23   Programs” (“ORR Guidance”) to its contracted facilities. (Ex. K) The policies included
24   in the ORR Guidance are inadequate to protect children in ORR custody from the
25
     https://www.nytimes.com/2020/03/24/us/california-coronavirus-death-child.html.
26   20
        OIG, Care Provider Facilities Described Challenges Addressing Mental Health
27   Needs of Children in HHS Custody, HHS (Sept. 3, 2019), https://bit.ly/2QKIHEe.
     21
        See Are you at risk for serious illness?, CDC, https://bit.ly/39ciF37 (last reviewed
28   Mar. 20, 2020).
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1    transmission of COVID-19 and contrary to current CDC guidelines as well as
2    widespread public health practice. (See Graves Decl. ¶¶ 13-20; Wang Decl. ¶¶ 20-26.)
3          The CDC has stated in no uncertain terms that “[t]he best way to prevent illness
4    is to avoid being exposed to this virus.” 22 In order to minimize exposure, current CDC
5    guidance stresses the importance of practicing “social distancing” and frequently
6    washing hands.23 The CDC defines social distancing as “remaining out of congregate
7    settings, avoiding mass gatherings, and maintaining distance (approximately 6 feet or 2
8    meters) from others when possible.”24 On March 16, 2020, the White House introduced
9    “The President’s Coronavirus Guidelines for America,” which asked everyone in the
10   nation to “avoid social gatherings in groups of more than 10 people,” avoid visiting
11   “long-term care facilities unless to provide critical assistance,” “[d]isinfect frequently
12   used items and surfaces as much as possible,” and “close schools in affected and
13   surrounding areas” as well as indoor and outdoor venues where groups of people
14   generally congregate, such as restaurants, food courts, and gyms.25
15         The ORR Guidance makes no mention of requiring or encouraging social or
16   physical distancing between children or staff, nor of limiting the gathering of groups of
17   children or staff within facilities. (See Graves Decl. ¶14, Wang Decl. ¶ 21; Ex. K (ORR
18   Interim Guidance).) This is not surprising, as it is nearly impossible for children
19   detained in ORR facilities to engage in appropriate social distancing to prevent the
20   transmission of COVID-19. (Enriquez Decl. ¶¶ 11, 21, 29; Flamm Decl. ¶ 12.) Unless
21   the number of children at these facilities is drastically reduced, the majority of these
22   facilities have insufficient space to allow children to maintain the required six-foot
23
     22
        How to Protect Yourself, CDC, https://bit.ly/33Pkr9p (last reviewed Mar. 18, 2020).
24   23
        Id.
     24
25      Interim US Guidance for Risk Assessment and Public Health Management of Persons
     with Potential Coronavirus Disease 2019 (COVID-19) Exposures: Geographic Risk
26   and Contacts of Laboratory-confirmed Cases, CDC, https://bit.ly/2QKU4w1 (last
27   updated Mar. 22, 2020).
     25
        The President’s Coronavirus Guidelines for America: 15 Days to Slow the Spread,
28   THE WHITE HOUSE & CDC (Mar. 16, 2020), https://bit.ly/2Jfk7r7.
                                                         MEMO. OF PS & AS ISO EX PARTE APPLICATION
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1    distance between themselves and the nearest child or staff member. (Graves Decl.
2    ¶¶ 28-32; Wang Decl. ¶ 28.)
3           The ORR Guidance also neglects to:
4       •   Provide information on managing the spread of disease among particularly
5           vulnerable children, such as those with compromised immune systems, heart
6           disease, diabetes, asthma or other chronic respiratory disease, and infants. (See
7           Graves Decl. ¶ 18; Wang Decl. ¶ 22.)
8       •   Anticipate a situation in which more children need to be quarantined than
9           facilities’ isolation rooms can handle. (Graves Decl. ¶ 17; Wang Decl. ¶ 24.)
10      •   Ensure that children have independent access to hand washing and sanitizing
11          supplies. (See Graves Decl. ¶ 20.)
12      •   Provide a screening or testing protocol for children not deemed to be “at risk” but
13          still exhibiting COVID-19 symptoms, who could spread the disease. (See Graves
14          Decl. ¶ 19; Wang Decl. ¶ 25.)
15          On March 23, 2020, the CDC released “Interim Guidance on Management of
16   Coronavirus Disease 2019 (COVID-19) in Correctional and Detention Facilities”
17   (“CDC Detention Facility Guidance”). (Ex. L.) The CDC Detention Facility Guidance
18   acknowledges that “(i)ncarcerated/detained persons live, work, eat, study, and recreate
19   within congregate environments, heightening the potential for COVID-19 to spread
20   once introduced,” and instructs facilities to “implement social distancing strategies to
21   increase the physical space between incarcerated/detained persons (ideally 6 feet
22   between all individuals, regardless of the presence of symptoms),” but acknowledges
23   that “not all strategies will be feasible in all facilities.” (Id.) Partial implementation of
24   social distancing will not adequately protect individuals from the spread of disease. (See
25   Graves Decl. ¶ 28.)
26          ORR may issue updated guidance in the coming days or weeks that adheres more
27   closely to the new CDC Detention Facility Guidance. However, unless the updated
28   guidance also provides for the expedited release of children such that strict adherence
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1    to social distancing within ORR facilities is possible, it will not adequately protect
2    against the transmission of COVID-19 and the risk of serious illness and death for
3    detained children. (See Graves Decl. ¶¶ 28-32; Wang Decl. ¶ 20.)
4                 2.     ORR’s COVID-19 Guidelines Fall Far Below Federal, State,
                         and Local Mandates to Reduce the Spread of COVID-19.
5
           In accordance with the CDC and federal guidelines discussed above, numerous
6
     federal, state, and local agencies have imposed swift mandates to reduce the spread of
7
     COVID-19 in public and congregate settings such as nursing homes, homeless shelters,
8
     schools, jails, and prisons. These mandates consistently prioritize social distancing,
9
     increased sanitation, education, reduced visitation, and release. In many instances, the
10
     actions taken are even more protective than those recommended by the CDC.
11
           Indeed, numerous states have issued extraordinary and unprecedented measures
12
     to ensure “social distancing” and to date over 160 million Americans have been ordered
13
     to “shelter in place.” 26 For example, on March 19, 2020, Governor Gavin Newsom
14
     ordered 40 million Californians to stay in their homes, with limited exceptions, and
15
     maintain a minimum distance of 6 feet from others.27 The following day, New York
16
     issued similar orders, requiring a distance of “at least six feet” between people in public,
17
     cancelling all “non-essential gatherings of individuals of any size for any reasons,”
18
     closing all non-essential business, and requiring those essential business that remain
19
     open to “implement rules that help facilitate social distancing of at least six feet.”28
20
     Within the past two weeks, Washington D.C. and forty-six states have mandated
21
     statewide school closures,29 with only four states left to follow.30
22
23   26
        Sarah Mervosh and Denise Lu, See Which States and Cities Have Told Residents to
     Stay Home, THE NEW YORK TIMES, Mar. 24, 2020.
24   27
         Coronavirus (COVID-19) in California, CALIFORNIA STATE GOVERNMENT,
25   https://covid19.ca.gov/ (last Mar. 24, 2020).
     28
        Gov. Andrew M. Cuomo’s Press Office, Governor Cuomo Signs the ‘New York State
26   on PAUSE’ Executive Order, https://on.ny.gov/2UtTYtO (last visited Mar. 24, 2020).
     29
27      David Nagel, Updated List of Statewide School Closures with Closure Dates, THE
     JOURNAL, https://bit.ly/2UjPKWV (last updated Mar. 24, 2020).
28   30
        Dante Chinni, School closures skyrocket, nearly 54 million students sent home, NBC
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1           States have also adopted measures to limit exposure in congregate settings like
2    homeless shelters. On February 24, 2020, New York issued guidance for homeless
3    shelters, which recommends a minimum distance of three to six feet between beds and
4    head-to-toe or toe-to-toe sleeping arrangements; barriers between beds (such as
5    curtains); separating symptomatic residents in private rooms with separate bathrooms
6    where available; and staggered mealtimes and use of common areas.31 Staff are advised
7    to clean their hands in accordance with CDC guidelines, and hand sanitizer is to be
8    made available to residents along with tissues, soap and paper towels for hand washing,
9    and face masks.32 Even so, individuals in New York homeless shelters have still tested
10   positive for COVID-19. 33 Recognizing that large shelters are particularly susceptible to
11   the spread of COVID-19, California is setting up shelters in trailers, hotels and motels
12   to facilitate social distancing.34
13          In the prison and jail context, similar concerns have been raised. Although the
14   U.S. Bureau of Prisons has implemented some precautions, they have proven
15   inadequate35 and raise valid concerns from experts in detention health, infectious
16   disease, and public health, as well as U.S. Senators, who urged the release of “those
17   who do not pose an immediate danger to public safety.”36 The U.S. government is now
18
19   NEWS (Mar. 22, 2020, 9:00 AM), https://nbcnews.to/2Ue3m5P.
     31
         Interim COVID-19 Guidance for Homeless Shelters, NYC DEPT. OF HEALTH,
20   https://on.nyc.gov/39g0slr (last visited Mar. 24, 2020).
     32
21      Id.
     33
        Coronavirus ‘Attack Rate’ in N.Y. Concerns White House, N.Y. TIMES (Mar. 24,
22   2020), https://www.nytimes.com/2020/03/23/nyregion/coronavirus-new-york-
     update.html.
     34
23      Governor Newsom Takes Emergency Actions & Authorizes $150 Million in Funding
     to Protect Homeless Californians from COVID-19, OFFICE OF GOV. GAVIN NEWSOM
24   (Mar. 18, 2020), https://bit.ly/3bpbG8B.
     35
25       Craig McCarthy, NYC jails see outbreak of coronavirus cases with exponential
     increase expected, N.Y. POST (Mar. 22, 2020), https://bit.ly/2xmGhVA.
26   36
        Josiah Rich, et al., We must release prisoners to lessen the spread of the coronavirus,
27   WASH. POST (Mar. 17, 2020), https://wapo.st/33IpbO5; Zack Budryk, Harris pushes for
     release of low-risk federal prisoners amid coronavirus outbreak, THE HILL (Mar. 19,
28   2020), https://bit.ly/2Uh2JZi. Relatedly, the American Bar Association policy favors
                                                         MEMO. OF PS & AS ISO EX PARTE APPLICATION
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1    entertaining the possibility of releasing some inmates to reduce the risk of a larger
2    outbreak.37 State and local jurisdictions, also concerned with their inability to protect
3    inmates, staff, and the community are making concerted efforts to release detainees as
4    expeditiously as possible.38
5    III.   STANDARDS FOR ISSUANCE OF TEMPORARY RESTRAINING ORDER
6           A plaintiff seeking preliminary relief under Federal Rule of Civil Procedure 65
7    must establish “that he is likely to succeed on the merits, that he is likely to suffer
8    irreparable harm in the absence of preliminary relief, that the balance of equities tips in
9    his favor, and that an injunction is in the public interest.” Winter v. Nat’l Res. Def.
10   Council, Inc., 555 U.S. 7, 20 (2008); Washington v. Trump, 847 F.3d 1151, 1159 n.3
11   (9th Cir. 2017) (noting standards for issuing temporary restraining orders and
12   preliminary injunctions are “substantially identical”). In balancing these elements, “a
13   stronger showing of one element may offset a weaker showing of another.” All. for the
14   Wild Rockies v. Cottrell, 632 F.3d 1127, 1131 (9th Cir. 2011). Thus, when the likelihood
15   of grave irreparable injury is palpable and the balance of equities tips sharply in a
16   plaintiffs’ favor, the plaintiffs need only “demonstrate a fair chance of success on the
17   merits or questions serious enough to require litigation.” Arc of Cal. v. Douglas, 757
18   F.3d 975, 993-94 (9th Cir. 2014) (internal quotations and citation omitted).
19   IV.    CLASS MEMBERS WILL SUCCEED ON THE MERITS
20          The foregoing demonstrates beyond any shadow of a doubt that Class Members
21
     release of prisoners in exceptional circumstances, including serious illness concerns.
22   Criminal Justice Standards: Standards on Treatment of Prisoners, ABA, Standard 23-
23   8.9(g), https://bit.ly/39nj4QF (last visited Mar. 24, 2020).
     37
        Johnson, Trump weighs release of some federal prisoners after inmate tests positive
24   for coronavirus, USA TODAY, https://bit.ly/3bsYpMp (last updated Mar. 22, 2020).
     38
25      New Jersey’s Supreme Court issued a Consent Order that is expected to result in the
     release of at least 1,000 inmates. Consent Order, In re: Request to Commute or Suspend
26   Cnty. Jail Sentences, N.J. ECF No. 084230 (Mar. 22, 2020). Iowa reported the expedited
27   release of 700 incarcerated people, Los Angeles County has already released over 600
     inmates, and other jurisdictions are promptly following suit, including in Ohio and
28   Texas. Prison Policy Initiative, Responses to the Covid-19 Pandemic (Mar. 23, 2020).
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1    in ORR congregate detention are vulnerable to contract COVID-19. The threat of
2    irreparable injury to their health and safety is palpable, and for those detained at least
3    30 days while ORR evaluates their potential custodians, the balance of the equities
4    clearly tips sharply in their favor.
5          Class Members therefore need only demonstrate “a fair chance of success on the
6    merits or questions serious enough to require litigation” to secure preliminary relief.
7    Arc of Cal., 757 F.3d at 993-94 (internal quotations and citation omitted); All. for the
8    Wild Rockies, 632 F.3d at 1132 (“‘[S]erious questions going to the merits’ and a
9    hardship balance that tips sharply toward the plaintiff can support issuance of an
10   injunction, assuming the other two elements of the Winter test are also met.”). Class
11   Members’ prospects here far exceed a “fair chance” of succeeding on the merits.
12         The Flores Settlement, the TVPRA, and the First and Fifth Amendments to the
13   U.S. Constitution each vest children who have custodians available to receive them with
14   substantive rights against ORR’s keeping them in congregate care, especially during a
15   global pandemic. Given a health crisis that will only worsen in the coming days and
16   weeks, Class Members’ requested due process relief easily satisfies the Mathews v.
17   Eldridge, 424 U.S. 319 (1976), balancing test. See infra Sec. IV.C.3.
18         A.     ORR Violates The TVPRA By Continuing To Detain Children With
                  Viable Sponsors In Congregate Settings.
19
20         The TVPRA requires ORR to “promptly” place detained children “in the least
21   restrictive setting that is in the best interest of the child,” generally with “a suitable
22   family member . . .” or other available guardian. 8 U.S.C. § 1232(c)(2)(A). Only if a
23   suitable family member or other guardian is not available to take custody of a minor
24   may ORR continue to detain him or her “in a specialized juvenile program or
25   facility.” Flores v. Sessions, 862 F.3d at 871.
26         By definition, all members of the “unfit custodian” class – and, a fortiori, those
27   whom the requested relief would protect – have family or other custodians available to
28
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1    receive them. Their ongoing detention in congregate care in the face of a rapidly
2    spreading public health crisis is a prima facie violation of the TVPRA.
3           According to the most recent ORR data at Plaintiffs’ disposal, as of March 13,
4    2020, ORR had 3,622 children in custody, 1,193 – nearly a third – of whom have been
5    placed in congregate settings for 30 days or more. (Holguín Decl., ¶ 3.) ORR’s data do
6    not indicate why the agency has yet to release these children, nor how many of them
7    have available custodians, yet the vast majority likely do.39
8           Unless they meet the specific criteria, the TVPRA requires ORR to release
9    children to any available custodian who “is capable of providing for the child’s physical
10   and mental well-being.” 8 U.S.C. § 1232(c)(3)(A). In determining whether a proposed
11   custodian meets this standard, the TVPRA requires ORR (1) to verify “the custodian’s
12   identity,” and (2) “relationship to the child, if any,” and (3) “make an independent
13   finding that the individual has not engaged in any activity that would indicate a potential
14   risk to the child.” Id.
15          The first two determinations are fairly straightforward, and may be verified
16   following the submission of a completed “family reunification application” (“FRA”).
17   (See Ex. N (ORR Policy Guide § 2.2.4 (when submitting an FRA, “potential sponsors
18   must provide documentation of identity, address, and relationship to the child”).) As for
19   the third determination – whether the proposed sponsor has “engaged in any activity
20
21   39
        ORR categorizes detained children pursuant to their relationship with potential
22   custodians. (Ex. N (ORR Policy Guide § 2.2.1).) The approximate percentage of
23   children in ORR custody in each category are as follows:
        • 42% in “Category 1” – i.e., they have parents or guardians in the U.S.;
24      • 47% in “Category 2” – i.e., they have an “immediate” relative – brother, sister,
25          grandparent, aunt, uncle, or first cousin –to whom they could be released;
        • 11% in “Category 3” – i.e., children with “other sponsors,” such as “more distant
26          relatives and unrelated adult individuals”;
27      • The remainder are “Category 4” – i.e., children for whom ORR has identified no
            potential custodian.
28   (Holguín Decl. ¶ 4; Ex. O (Shiloh PowerPoint Presentation)).
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1    that would indicate a potential risk to the child” – ORR requires potential custodians to
2    “immediately” advise whether the proposed custodian has “a record of a criminal charge
3    or child abuse” and submit “detailed documentation of the charges, dispositions, police
4    reports, and evidence of rehabilitation.” (Ex. N (ORR Policy Guide § 2.5.3).) ORR also
5    completes background checks of all sponsors and adult household members through a
6    public records criminal history check and a sex offender registry check. (Ex. N (ORR
7    Policy Guide § 2.5).) These are simple internet searches that can be completed
8    expeditiously by a case manager. (Ex. M. (ORR Manual of Procedures at § 2.5).)
9    Although ORR chooses to require certain sponsors, household members, and adult
10   caregivers to further undergo an FBI National Criminal History Check, Child Abuse
11   and Neglect (CA/N) Check, and State Criminal History Repository Check and/or Local
12   Police Check, these are not mandated by the TVPRA.
13         In the vast majority of cases,40 any additional delay is often attributable either to
14   (1) discretionary investigatory measures, or (2) administrative inefficiency or
15   indifference. In establishing the requirements to vet proposed custodians, ORR has a
16   track record of arbitrariness and vacillation. (E.g., After policy reversal, hundreds of
17   detained     children     could     be     released,     PBS,      Dec.      19,      2018,
18   https://www.pbs.org/newshour/show/after-policy-reversal-hundreds-of-detained-
19   migrant-children-could-be-released (according to HHS Assistant Secretary Lynn
20   Johnson, ORR’s expanded fingerprinting policy was “not adding anything to the
21   protection or the safety for these children”); Flores v. Barr, No. 2:85-cv-04544-DMG-
22   AGR, Order re Pls.’ Mot. to Enforce Class Action Settlement, July 30, 2018 (ECF No.
23
24   40
        The TVPRA requires ORR to conduct home studies before releasing trafficking and
25   abuse victims and children with special needs, 8 U.S.C. § 1232(c)(3)(B); but relatively
     few class members – and certainly not a third – fall within these special categories. Nor
26   is there any apparent reason ORR could not generally complete a home study within 30
27   days. (See Ex. M (ORR Manual of Procedures at § 2.4.2) (directing that cases be
     referred for home studies within three business days and completed within ten business
28   days of acceptance of the referral).)
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1    470) at 27-29 (disapproving ORR requirement that its director approve release of any
2    child placed in a restrictive setting); id. at 29-30 (disapproving ORR requirement that
3    myriad post-release services be in place before a child is released to a sponsor subjected
4    to a home study).
5          The harm that detention inflicts upon children is well established See, e.g., Julie
6    M. Linton et al., Detention of Immigrant Children, PEDIATRICS, Apr. 2017, at 6
7    (“[E]xpert consensus has concluded that even brief detention can cause psychological
8    trauma and induce long-term mental health risks for children.”). Plaintiffs reject the
9    presumption that ORR’s obligation to vet proposed custodians necessarily offsets that
10   harm. These delays must now be evaluated in light of the extraordinary circumstances
11   presented by this pandemic. The science is clear: if ORR fails to end congregate
12   detention, or at least reduce it dramatically, it is only a matter of time before COVID-
13   19 illness rages among children forced into close proximity with one another.
14         Thirty days should be more than enough for ORR to assess post-release risk.
15   (E.g., Ex. P (Declaration of James M. Owens ¶ 6 (“Owens Decl.”) (state dependency
16   courts determine whether there is cause to detain children within three days)); Ex. M
17   (ORR Manual of Procedures, at § 2.2.2 (care providers generally expected to complete
18   custodian evaluations within 10-21 days), § 2.7.2 (case coordinators expected to make
19   recommendation within 1 business day), and § 2.7.3 (Federal Field Specialists expected
20   to make release decisions within 1-2 business days of receiving case coordinator
21   recommendations)). Any marginal gains to child safety from ORR’s distending
22   investigations for more than 30 days cannot outweigh the harm congregate detention
23   will inevitably cause. Leaving children on the tracks with the COVID-19 train fast
24   approaching while ORR takes even more time is unconscionable.
25         There is accordingly no serious question that ORR detaining over one thousand
26   children in congregate settings for more than 30 days during a raging pandemic, even
27   though they have custodians available to care for them, is a prima facie violation of the
28
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1    TVPRA’s requirement that it promptly place children in the least restrictive setting that
2    is in their best interest.
3            B.     ORR Violates The Flores Settlement By Refusing To Release Children
                    To Available Custodians, And Instead Forcing Them To Remain In
4                   Unsafe Or Unsanitary Conditions.
5            The injunctive relief Plaintiffs seek is also a necessary step to protect against the
6    erroneous deprivation of children’s substantive rights under the Flores Settlement41 to
7    (1) prompt release and (2) safe and sanitary conditions, rights that have become vastly
8    more important to children in congregate detention during a pandemic. In particular, the
9    Flores Settlement requires:
10        • “Where [ORR] determines that the detention of the minor is not required either
11           to secure his or her timely appearance before [DHS] or the immigration court, or
12           to ensure the minor’s safety or that of others, [ORR] shall release a minor from
13           its   custody        without    unnecessary       delay     ...     [to]    an     adult
14           relative . . .” (Flores Settlement ¶ 14 (emphasis added));
15        • “[ORR] . . . shall make and record the prompt and continuous efforts on its part
16           toward . . . the release of the minor . . .” (id. ¶ 18);
17        • ORR must house children “in facilities that are safe and sanitary and that are
18           consistent with [its] concern for the particular vulnerability of minors” (Id. ¶ 12);
19        • ORR must place detained children in state-licensed facilities that comply with
20           both state health and safety standards and the minimum standards listed in Exhibit
21           1 to the Settlement, which include “[p]roper physical care and maintenance,
22           including suitable living accommodations.” (id. ¶¶ 6, 19 Ex. 1, ¶ A.1).
23           During a public health crisis, ORR holding class members in congregate
24   detention even after it has already had 30 days to evaluate available custodians is in
25
     41
        This Court has clarified that, although Plaintiffs may not seek to enforce
26   the Flores Settlement in this action, “Plaintiffs may pursue due process claims
27   predicated on Defendants’ failure to provide sufficient procedural safeguards for alien
     minors to exercise their Flores rights” (ECF No. 141 at 10-11).
28
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1    prima facie violation of each of these provisions, yet class members have been deprived
2    of adequate process to protect these rights. This Court should require ORR to articulate
3    good cause for exposing children to the clear dangers of congregate detention in lieu of
4    release to their families or transfer to non-congregate settings.
5          C.     ORR Violates the Due Process Clause Of The Fifth Amendment By
                  Exposing Vulnerable Children To Clearly Dangerous Conditions.
6
7          The Due Process Clause of the Fifth Amendment protects individuals against (i)
8    “arbitrary action of government” – a denial of procedural due process – or (ii) “the
9    exercise of power without any reasonable justification in the service of a legitimate
10   government objective” – a denial of substantive due process. City of Sacramento v.
11   Lewis, 523 U.S. 833, 845-46 (1998) (citations and internal quotations omitted).
12   Detaining Class Members in congregate facilities that are inherently unsafe in the midst
13   of the COVID-19 pandemic rather than releasing them to available custodians violates
14   both substantive and procedural due process.
15                1.     ORR has an affirmative duty to guarantee Class Members’
                         reasonable health and safety.
16
17         ORR has an affirmative duty to place Class Members in facilities capable of
18   ensuring their reasonable health and safety. “When the State takes a person into
19   its custody and holds him there against his will, the Constitution imposes upon it a
20   corresponding duty to assume some responsibility for his safety and general well-
21   being.” DeShaney v. Winnebago Cnty. Dep’t of Soc. Servs., 489 U.S. 189, 199-200
22   (1989); see also Henry A. v. Willden, 678 F.3d 991, 998 (9th Cir. 2012). The Ninth
23   Circuit has found that a special relationship “applies to children in foster care,” Henry
24   A., 678 F.3d at 1000, as well as others in government custody. See Wang v. Reno, 81
25   F.3d 808, 818 (9th Cir. 1996). As a result, ORR’s obligation to provide children in its
26   custody with, inter alia, “medical care, and reasonable safety,” DeShaney at 200,
27   includes reasonable protections from the risks presented by the COVID-19 pandemic.
28         The constitutional guarantee of “reasonable safety” protects against the risk of
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1    future harm even in the less protective Eighth Amendment context.42 Yet here, Class
2    Members are civil immigration detainees with rights derived from the Fifth
3    Amendment. See Zadvydas v. Davis, 533 U.S. 678, 690 (2001). In Helling v. McKinney,
4    the Supreme Court specifically recognized that the risk of contracting a
5    communicable disease may constitute an “unsafe, life-threatening condition” that
6    threatens “reasonable safety.” 509 U.S. 25, 33 (1993). The Fifth Amendment thus
7    protects Class Members in the government’s custody from the risk of contracting
8    COVID-19, exacerbated by unsafe conditions inherent to congregate settings.
9                 2.     ORR’s failure to release Class Members expeditiously and
                         ensure adequate safety measures in the midst of a pandemic
10                       violates their substantive due process rights.
11         The Ninth Circuit has recognized that individuals who have been civilly
12   committed or detained “cannot be subjected to conditions that ‘amount to punishment.’”
13   Jones v. Blanas, 393 F.3d 918, 931, 934 (9th Cir. 2004).
14         Courts in this Circuit have recognized that immigration detention may amount to
15   punishment and violate due process “if it imposes some harm to the detainee that
16   significantly exceeds or is independent of the inherent discomforts of confinement and
17   is not reasonably related to a legitimate governmental objective or is excessive in
18   relation to the legitimate governmental objective.” Unknown Parties, 2016 WL
19   8188563, at *5. Here, as the Ninth Circuit recognized, the continued detention of Class
20   Members in congregate care settings both (i) imposes harm that significantly exceeds
21   the inherent discomforts of their confinement and (ii) is excessive in relation to
22   legitimate governmental objectives. See Xochihua-Jaimes v. Barr, 18-cv-71460, ECF
23   No. 53 (Mar. 23, 2020) (“In light of the rapidly escalating public health crisis, which
24   public health authorities predict will especially impact immigration detention centers,
25
     42
        See Unknown Parties v. Johnson, No. CV-15-00250-TUC-DCB, 2016 WL 8188563,
26   at *5 (D. Ariz. Nov. 18, 2016), aff’d sub nom. Doe v. Kelly, 878 F.3d 710 (9th Cir. 2017)
27   (immigration detainees “are most decidedly entitled to ‘more considerate treatment’
     than those who are criminally detained”; “decisions defining the constitutional rights of
28   prisoners establish a floor for the constitutional rights of [civil immigration detainees]”).
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1    the court sua sponte orders that Petitioner be immediately released from detention ….”).
2          First, it is indisputable that the grave risk to all Class Members of potential
3    exposure to COVID-19 is both significantly greater than and unrelated to the “inherent
4    discomforts” generally associated with detention in ORR’s custody.
5          Second, although Defendants maintain that ORR’s detention of Class Members
6    beyond 30 days is required by law to prevent the release of children to custodians who
7    may abuse and neglect them, the continued detention of Class Members in life-
8    threatening congregate care settings is grossly excessive in view of the substantial and
9    immediate threat posed by the COVID-19 pandemic. Accelerating release of children
10   to available sponsors would dramatically reduce the harm to all Class Members by both
11   vastly reducing their own risk of exposure to COVID-19 and allowing children without
12   sponsors to be placed in less crowded settings. Defendants’ failure to expedite release
13   to protect the health and safety of all class members is thus excessive and unjustifiable.
14                3.    ORR’s failure to release Class Members expeditiously in the
                        midst of a life-threatening pandemic clearly violates their
15                      procedural due process rights.
16         In addition, ORR’s failure to expedite release of Class Members given the
17   imminent threat to their health and safety posed by COVID-19 violates procedural due
18   process as guaranteed by the Fifth Amendment. As this Court has recognized,
19   “[Procedural] due process . . . has three elements: (1) a liberty or property interest
20   protected by the Constitution; (2) a deprivation of the interest by the government; (3)
21   lack of process.” (ECF No. 141 at 13 (quoting Portman v. Cnty. of Santa Clara, 995
22   F.2d 898, 904 (9th Cir. 1993)).) The Class Members easily satisfy these factors.
23         First, as this Court has recognized, Class Members have substantive interests
24   implicated by their detention in ORR custody that give rise to due process protection,
25   all of which are heightened by the unprecedented threat posed by COVID-19:
26      • A fundamental right to freedom from detention, e.g., Zadvydas v. Davis, 533 U.S.
27         678, 690 (2001); Reno v. Flores, 507 U.S. 292, 316 (1993);
28      • a substantial liberty interest in family unity and family association, e.g.,
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1             Rosenbaum v. Washoe Cty., 663 F.3d 1071, 1079 (9th Cir. 2011); and
2         • rights to prompt release under the TVPRA and the Flores Agreement (see ECF
3             No. 141 at 14-15).
4             Second, ORR’s actions deprive Class Members of these constitutionally
5    protected interests. Indeed, ORR’s delay in releasing children in its custody is deeply
6    harmful to children even under ordinary circumstances, and is especially dangerous in
7    light of the current pandemic. See Stanley v. Ill., 405 U.S. 645, 647 (1972) (even a
8    temporary deprivation of the right to family integrity is constitutionally significant).
9             Third, ORR’s procedures governing release of Class Members fall short of those
10   required under the Due Process Clause. Due process is “flexible and calls for such
11   procedural protections as the particular situation demands.” See Morrissey v. Brewer,
12   408 U.S. 471, 481, (1972). Normally, “[t]he consequences of an erroneous commitment
13   decision are more tragic where children are involved” because “childhood is a
14   particularly vulnerable time of life and children erroneously institutionalized during
15   their formative years may bear the scars for the rest of their lives.” Reno v. Flores, 507
16   U.S. at 318 (O’Connor, J. and Souter, J., concurring) (internal citations omitted). Now,
17   in light of the COVID-19 pandemic, the consequences of an erroneous commitment
18   decision for these children could be deadly.43 See supra Sec. II.
19            Given the extraordinary circumstances presented by this pandemic, due process
20   requires at a minimum that ORR (1) release all Unfit Custodian Class Members to
21   available sponsors absent credible evidence that such sponsors would harm or neglect
22   them, (2) place such Class Members in non-congregate care that satisfies Centers for
23   Disease Control and Prevention guidelines, or (3) provide all such Class Members with
24   evidence supporting ORR’s decision not to release them and an opportunity to be heard
25   regarding the grounds for continued congregate detention as set forth in Plaintiffs’
26   requested Temporary Restraining Order. ORR currently affords Class Members none
27
28   43
          See supra footnote 17.
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1    of these minimal procedural protections under any circumstances.44 See Office of
2    Refugee Resettlement, Children Entering the United States Unaccompanied: Section 2,
3    HHS (Jan. 30, 2015), https://bit.ly/2UwJM3G.45
4          Without such protections, there is a high likelihood that Class Members have
5    been and will continue to be subjected to the risk of death or serious illness, and the
6    traumatic effects of heightened isolation (Graves Decl. ¶ 13; Zein Decl.; Haney
7    Decl. ¶ 12), and will further be deprived of essential support from family members or
8    other caring adults at this time of extreme stress and anxiety. (Haney Decl. ¶¶ 12-16.)
9    V.    ABSENT A TEMPORARY RESTRAINING ORDER, CLASS MEMBERS IN
           CONGREGATE FACILITIES WILL SUFFER IRREPARABLE INJURY.
10
11         A plaintiff must also demonstrate “immediate threatened injury as a prerequisite
12   to preliminary injunctive relief.” Caribbean Marine Servs. Co. v. Baldrige, 844 F.2d
13   668, 674 (9th Cir. 1988). “Irreparable harm is the single most important prerequisite for
14   the issuance of a preliminary injunction.” Spark Indus., LLC v. Kretek Int’l, Inc., No.
15   CV 14-5726-GW(ASX), 2014 WL 12600262, at *3 (C.D. Cal. July 29, 2014) (citations
16   omitted). Increased risk of exposure to a deadly virus by virtue of placement in
17   congregate care represents a paradigmatic example of imminent irreparable harm.
18         An imminent threat to health and safety constitutes irreparable harm. For
19   example, in Unknown Parties, the district court – as later affirmed by the Ninth Circuit
20   – issued an injunction to curb physiological, health and/ or medical risks to civil
21   immigration detainees, including “being exposed to communicable diseases.” 2016 WL
22   8188563, at *15 (emphasis added). Likewise, in Harris v. Bd. of Supervisors, Los
23
     44
24      Plaintiffs assert that due process requires greater protections than currently sought in
     this Temporary Restraining Order. See First Amended Complaint ¶ 111. Plaintiffs
25   reserve their right to seek such protections through a preliminary injunction.
     45
        In the child welfare systems of all fifty states, children may not be detained for want
26   of a qualified custodian without affording them and/or their parents or other potential
27   custodians a prompt hearing before a judge or other neutral and detached
     decisionmaker, during which allegations of unfitness are tested via trial-like procedures
28   and any ensuing finding of unsuitability must be based on competent evidence.
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1    Angeles Cty., the Ninth Circuit affirmed a preliminary injunction where the closure of
2    a hospital and bed reductions would irreparably injure chronically ill indigent patients
3    by inflicting “pain, infection, amputation, medical complications, and death due to
4    delayed treatment.” 366 F.3d 754, 756 (9th Cir. 2004); see also Jones v. Tex. Dep’t. of
5    Crim. Justice, 880 F.3d 756, 760 (5th Cir. 2018) (denial of adequate medical care for
6    prisoner’s diabetes constituted irreparable harm).
7          In light of the rapid spread of COVID-19 across the country and the impossibility
8    of maintaining proper social distancing in ORR congregate care facilities, Class
9    Members face an unacceptable risk of contracting COVID-19 in ORR custody. This
10   danger will only grow the longer Class Members remain detained in unsafe facilities.
11   Class Members who contract COVID-19 are at risk of death or serious illness, including
12   the potential for permanent impairment. (Graves Decl. ¶ 7.) Even Class Members who
13   display less severe symptoms will face the discomfort of being ill and, if they are
14   quarantined, the traumatic psychological effects of isolation far from caring family
15   members or other caregivers. (Wang Decl. ¶ 23.)
16         All Class Members, even those who do not become ill, are vulnerable to
17   irreparable psychological harm from the anxiety and likely heightened isolation of
18   being detained in the midst of a pandemic. (Haney Decl. ¶¶ 12-17.) See Edmo v.
19   Corizon, Inc., 935 F.3d 757, 797-98 (9th Cir. 2019) (noting that “severe, ongoing
20   psychological distress” can constitute irreparable harm); Stanley v. Univ. of S. Cal., 13
21   F.3d 1313, 1324 n.5 (9th Cir. 1994) (finding legal support for conclusion that “serious
22   emotional distress” cannot be remedied through money damages).
23         Conditions in ORR facilities are incompatible with preserving Class Members’
24   health and mental wellbeing. These unsafe conditions, along with the lack of available
25   medical care pose an extremely high likelihood of irreparable harm to Plaintiffs.
26   VI.   THE BALANCE OF EQUITIES FAVORS INJUNCTIVE RELIEF
27         In this case, the equities and public interest merge into a single balancing test
28   because Defendants are government officials. See Nken v. Holder, 556 U.S. 418, 435
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1    (2009); see also Cal. v. Azar, 911 F.3d 558, 581 (9th Cir. 2018). “A court must balance
2    the competing claims of injury and must consider the effect on each party of the granting
3    or withholding of the requested relief.” Arc of Cal., 757 F.3d at 991 (quoting Amoco
4    Prod. Co. v. Vill. of Gambell, 480 U.S. 531, 542 (1987)). Importantly, “the Ninth Circuit
5    expects lower courts to protect physical harm to an individual over monetary costs to
6    government entities.” McNearney v. Wash. Dep’t of Corr., No. 11-cv-5930 RBL/KLS,
7    2012 WL 3545267, at *15 (W.D. Wash. June 15, 2012).
8          The balance here tips decidedly in favor of Plaintiffs’ interest in health and safety,
9    which Defendants are placing at unnecessary risk. Unless this Court intervenes,
10   Plaintiffs are likely to suffer serious and severe irreparable harm, including likely
11   exposure to COVID-19. No purported government interest justifies subjecting children
12   to this life-threatening virus. See Norsworthy v. Beard, 87 F. Supp. 3d 1164, 1193 (N.D.
13   Cal. 2015) (holding equities sharply favored detainee who “established that she is
14   suffering and is likely to continue to suffer unnecessary pain”); see also Lopez v.
15   Heckler, 713 F.2d 1432, 1437 (9th Cir. 1983) (“Faced with . . . a conflict between
16   financial concerns and preventable human suffering, [the court has] little difficulty
17   concluding that the balance of hardships tips decidedly in plaintiffs’ favor.”).
18         Granting Plaintiffs’ motion would not subject Defendants to any identifiable
19   hardship outweighing the irreparable harm to Plaintiffs’ health and safety. Indeed,
20   Defendants cannot point to any harm because they “‘cannot suffer harm from an
21   injunction that merely ends an unlawful practice.’” Ms. L. v. ICE, 310 F. Supp. 3d 1133,
22   1147 (S.D. Cal. 2018) (quoting Rodriguez v. Robbins, 715 F.3d 1127, 1145 (9th Cir.
23   2013)). Moreover, “it is obvious that compliance with the law is in the public interest.”
24   N.D. ex rel. parents acting as guardians ad litem v. Haw. Dep’t of Educ., 600 F.3d 1104,
25   1113 (9th Cir. 2010); see also Small v. Avanti Health Sys., LLC, 661 F.3d 1180, 1197
26   (9th Cir. 2011) (The “public interest favors applying federal law correctly.”). Because
27   the requested relief would simply mandate compliance with Constitution, TVPRA, and
28   the Flores Settlement, the Government could suffer no harm as a result.
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1          Granting Plaintiffs’ request for preliminary relief also serves the public interest
2    because allowing COVID-19 to spread in ORR congregate care facilities endangers the
3    general public. As public health experts have explained, reducing the number of
4    individuals in congregate care settings protects both those individuals and the
5    communities around them. An outbreak of COVID-19 in a congregate facility, such as
6    an ORR shelter, could quickly overtake the capacity of local health care resources, and
7    would likely require transport of infected individuals, potentially to areas where
8    COVID-19 has not yet spread. (Graves Decl. ¶ 36; Ex. D (Letter to Congress at 4.))
9    VII. CONCLUSION
10         For the foregoing reasons, the Court should grant this application for a temporary
11   restraining order and order Defendants to show cause why a preliminary injunction
12   should not issue in the form lodged herewith.
13
     Dated: March 25, 2019               CARLOS R. HOLGUIN
14                                       Center for Human Rights &
                                         Constitutional Law
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28
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